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                     IN THE UNITED STATES DISTRICT COURT FOR
                     THE NORTHERN DISTRICT OF MISSISSIPPI
                                 OXFORD DIVISION

 AMY MICHELLE GREER                                                                   PLAINTIFF

 VS.                                                  CIVIL ACTION NO.: 3:20-CV-31-JMV

 ANDREW M. SAUL                                                                    DEFENDANT
 as the Commissioner of Social Security
 for the United States

                                      FINAL JUDGMENT


       This cause is before the Court on the Plaintiff’s complaint pursuant to 42 U.S.C. § 405(g)

for judicial review of an unfavorable final decision of the Commissioner of the Social Security

Administration regarding applications for a period of disability and disability insurance benefits

and supplemental security income. The parties have consented to entry of final judgment by the

United States Magistrate Judge under the provisions of 28 U.S.C. § 636(c), with any appeal to

the Court of Appeals for the Fifth Circuit. The Court, having reviewed the record, the

administrative transcript, the briefs of the parties, and the applicable law and having heard oral

argument, finds as follows, to wit:

       For the reasons stated in Defendant’s brief and announced by the Court on the record at

the conclusion of oral argument during a hearing held January 21, 2021, the Court finds there is

no reversible error, and the Commissioner’s decision is supported by substantial evidence in the

record. Therefore, the decision of the Commissioner is hereby AFFIRMED.

       SO ORDERED AND ADJUDGED this 22nd day of January, 2021.


                                                     /s/ Jane M. Virden
                                                     U.S. MAGISTRATE JUDGE
